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                      IN THE UNITED STATES DISTRICT COURT                            RECEIVED
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                                EASTERN DIVISION                                 7O !t JUN -3 A 11:32


PRO LAWNS, INC.;                                )                               [TTRA P. H;';CTT, CLK
                                                )                                M    LE S 1iCT ALA
                      Plaintiff,                )

V.
                                                )
                                                )
                                                      Civil Action No. 3:14—CV-      4C
                                                )
                                                )     JURY TRIAL DEMANDED
FIDELITY AND DEPOSIT COMPANY OF )
MARYLAND; and TRAVELERS         )
CASUALTY AND SURETY COMPANY OF)
AMERICA,                        )
                                )
               Defendants.      )

                                        COMPLAINT

       COMES NOW the Plaintiff, Pro Lawns, Inc., and for its Complaint against Defendants,

Fidelity and Casualty Company of Maryland and Traveler's Casualty and Surety Company

America, states as follows:

                          PARTIES, JURISDICTION AND VENUE

       1.      Plaintiff, Pro Lawns, Inc. ("Plaintiff'), is an Alabama corporation with its

principal place of business in Auburn, Lee County, Alabama.

       2.      Defendant, Fidelity and Deposit Company of Maryland ("F&D") is a foreign

corporation with its principal place of business in Schaumburg, Illinois. F&D is registered with

the Alabama Secretary of State as being authorized to do business in the State of Alabama.

       3.      Defendant, Travelers Casualty and Surety Company of America ("Travelers), is a

foreign corporation with its principal place of business in Hartford, Connecticut. Travelers is

registered with the Alabama Secretary of State as being authorized to do business in the State of
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Alabama. F&D and Travelers shall sometimes be collectively referred to herein as

"Defendants."

       4.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332, in that there exists complete diversity between the parties, and the amount in controversy

exceeds $75,000.00, exclusive of interest and costs.

       5.       Pursuant to 28 U.S.C. § 1391(b)(2), venue is proper in the Middle District of

Alabama, Eastern Division, because the contract giving rise to this action was performed in

Auburn, Lee County, Alabama.

                                  FACTUAL ALLEGATIONS

       6.       W.G. Yates & Sons Construction Company ("Yates") entered into a Contract with

Auburn University, an Alabama public academic institution, to serve as the General Contractor

and to furnish the materials and perform the labor for the construction of certain improvements

to the South Donahue Residence Hall and Parking Facilities, located on the campus of Auburn

University (the "Project"), and in accordance with the specifications contained in the Contract

for the consideration of a set sum figure to be paid by Auburn University to Yates.

       7.       On or about April 5, 2012, and pursuant to the terms of the Contract, F&D and

Travelers, as co-sureties, and Yates, as principal, executed and delivered to Auburn University

their bonds, conditioned as required by the "Little Miller Act," Ala. Code § 39-1-1 (1975), et.

seq., for the protection of all persons supplying materials and labor in the prosecution of the

work provided for in the Contract. The collective penal sum of the bonds was $23,112,000.00.

       8.        On or about October 19, 2012, Yates entered into a Subcontract Agreement (the

"Subcontract Agreement"), Contract No. 51217-6725, with Plaintiff. The Subcontract




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Agreement provided that Plaintiff was to "provide all labor, material, equipment and accessories

necessary to provide a complete turn-key package for landscaping and irrigation" for the Project.

       9.      The Subcontractor Agreement further provided that in consideration of Plaintiff

performing the work as set forth therein Yates would honor the applications for payment

submitted by Plaintiff, provided that certain conditions precedent had been met. The original

total subcontract sum to be paid to Plaintiff under the Subcontract Agreement was $238,800.00.

       10.     In or about mid-July 2013, Plaintiff commenced work on the Project. From July

through November 2013, Plaintiff performed the work directed by Yates. Durin g Plaintiffs

performance of its work under the Subcontract Agreement, certain circumstances beyond the

control of Plaintiff required Plaintiff to submit various change orders to Yates. The total amount

of the change orders totaled $37,906.00. Each change order was ultimately approved in the

manner provided for in the Subcontract Agreement and/or otherwise

       11.     Additionally, due to various errors and/or omissions of Yates, Plaintiff was

required to submit additional invoices to Yates, including an invoice for storage and care of live

trees, plants and/or other landscaping items necessary to complete the work on the Project.

These invoices were noticed to and ultimately approved by Yates in accordance with the

Subcontract Agreement and/or otherwise. The total amount of the additional invoices totaled

$25,803.16.

       12.     Due to the change orders and additional invoice costs absorbed and/Or incurred by

Plaintiff, the new subcontract sum due and owing Plaintiff as of November 2013, was

$294,509.16.

       13.     Plaintiff substantially completed work on the Project in or about November 2013.

Although Plaintiff applied for and was approved for a partial payment in August 2013, the partial



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payment was not made by Yates to Plaintiff until November 2011 The total amount of the

partial payment was $111,249.00. This is the only payment ever received by Plaintiff

concerning the Project.

        14.       During its work on the Project, Yates applied for and was approved for various

landscaping and irrigation payments by Auburn University. Yates received these payments as

required under its Contract with Auburn University. However, Yates failed and/or refused to

tender these payments to Pro Lawns as required under the Subcontract Agreement; instead, Yates

received the use and benefits of these state monies, while failing to pay its subcontractors,

including Plaintiff.

        15.     Following substantial completion of its work on the Project, Plaintiff submitted a

final pay request to Yates in the amount of $183,287.16. Said amount constitutes the total

amount due to Plaintiff under the Subcontract Agreement, after all credits and setoffs. Yates

failed and/or refused to tender any payment.

        16.     On March 24, 2014, counsel for Plaintiff made demand against the bonds held by

F&D and Travelers in favor of Yates in the amount of $183,287.16. (Ex. A.)

        17.     On May 16, 2014, F&D notified counsel for Plaintiff that Yates declined to make

any further payments in connection with Plaintiff's work on the Project (Ex, B.) Specifically,

F&D claimed that Plaintiffs claims for the change orders and additional invoices were not

approved by Yates, and that Yates was reducing any further amounts owed by a workforce

supplementation claim in the amount of $87,763.43. (Id.)

                                      COUNT I
                           VIOLATION OF ALA. CODE 4 3944(b)

        18.     Plaintiff adopts each and every allegation contained in the preceding paragraphs

as if the same were set forth fully herein.


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        19.     This action is brought pursuant to ALA. CODE § 39-1-1(b) (1975) (the "Little

Millet Act").
                                                     .
       20.      Because the Project concerned Yates'
                                                ates' contracting with a state academic

institution, the provisions of the Little Miller Act are applicable to the dispute between Plaintiff

and Yates.

       21.      Plaintiff performed the work as directed and has invoiced Yates for the work and

materials supplied in the prosecution of the work.

       22.      The date on which the last labor, material and equipment was supplied by use of

Plaintiff was on or about November 15, 2013.

       23.      After credits and setoffs, Yates has not paid Plaintiff $183,287.16 for work and

materials supplied in the prosecution of the work.

        24.     Defendants, as co-sureties on Yates' bonds, are liable for the same.

        25.     All conditions precedent to bringing and maintaining this action have occurred.

Furthermore, because Defendants have failed to pay the amounts in question after proper 45-day

notice, Plaintiff seeks an award of attorneys' fees pursuant to Ala. Code § 39-1-1(b).

        WHEREFORE, Plaifltiff demands judgment against F&D and Travelers, jointly and

severally, in the amount of $183,287.16, plus interest, costs and attorneys' fees, in an amount

determined by a trial jury.

                                        COUNT II
                              VIOLATION OF ALA CODE 4 41-16-3

       26.      Plaintiff adopts each and every allegation contained in the preceding paragraphs

as if the same were set forth fully herein.

       27.      This action is brought pursuant to ALA. CODE § 41-16-3 (1975).




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       28.     Because the Project concerned Yates' contracting with a state academic

institution, the provisions of ALA. CODE § 41-16-3 are applicable.

       29.     Plaintiff performed the work as directed and has invoiced Yates for the work and

materials supplied in the prosecution of the work.

       30.     The date on which the last labor, material and equipment was supplied by use of

Plaintiff was on or about November 15, 2013.

       31.     After credits and setoffs, Yates has not paid Plaintiff $183,287.16 for work and

materials supplied in the prosecution of the work.

       32.     Defendants, as co-sureties on Yates' bond, are liable for the same.

       33.     All conditions precedent to bringing and maintaining this action have occurred.

       WHEREFORE, Plaintiff demands judgment against F&D and Travelers, jointly and

severally, in the amount. of $183,287.16, plus interest, costs and attorneys' fees, in an amount

determined by a trial jury.

       Respectfully submitted this the 2nd day of June 2014.




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                 PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY



                                             Jog&fran—k. Corley




Serve Defendants via Certified Mail as follows:

Fidelity and Deposit Company of Maryland
do CSC Lawyers Incorporating Service, Inc.
150 South Perry Street
Montgomery, Alabama 36104

Travelers casualty and Surety Company of America
c/o.-CSC Lawyers Incorporating Service, Inc.
150 South Perry Street
Montgomery, Alabama 36104




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